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                                UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                   JACKSONVILLE DIVISION

   CALVIN MCFARLAND,

        Plaintiff,

   v.                                                CASE NO.: 3:16-cv-00080-MMH-MCR

   ONEMAIN FINANCIAL GROUP, LLC d/b/a
   ONEMAIN FINANCIAL,

        Defendant.
                                         /

                                NOTICE OF SETTLEMENT

            Plaintiff, Calvin McFarland, by and through the undersigned counsel,

   hereby notifies the Court that the parties, Plaintiff, Calvin McFarland, and

   Defendant, OneMain Financial Group, LLC d/b/a OneMain Financial, have reached a

   settlement with regard to this case, and are presently drafting, and finalizing the

   settlement agreement, and general release documents. Upon execution of the same, the

   parties will file the appropriate dismissal documents with the Court.

                                                /s/Jared M. Lee
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                                                 Counsel for Plaintiff
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                               CERTIFICATE OF SERVICE

          I HEREBY CERTIFY on this 28th day of November, 2016 a true and correct copy

   of the foregoing has been furnished via the Court’s CM/ECF system to:

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                                              /s/Jared M. Lee
                                              Jared M. Lee, Esquire
